  Case 18-02747           Doc 37     Filed 09/02/20 Entered 09/02/20 16:22:44                    Desc Main
                                       Document     Page 1 of 1



                    IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                    NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION


In re:                                           )   Case No.:       18-02747
    Frederick Walker                             )   Chapter:        Chapter 13
                                                 )   Date Filed:     01/31/2018
              Debtor(s)                          )   341 Date:       02/27/2018
                                                 )   Judge:          Honorable Donald R. Cassling
                                                 )   Trustee:        Tom Vaughn


                                   NOTICE OF CHANGE OF ADDRESS

The current address of the Debtor is different from the address as it appears on the schedules
filed in this matter.

NOTICE IS HEREBY GIVEN that the new mailing address of the above named Debtor on the
general docket and the schedules on file in this matter should be changed to the following:

1111 S. Laflin apt 1616
Chicago, IL 60607

                                                        By: _Kyle Dallmann_
                                                            Kyle Dallmann, Attorney



                                      CERTIFICATE OF SERVICE

I, Kyle Dallmann, an attorney at law hereby certify that I caused this document to be served by
filing it using this Court’s CM/ECF system. All parties in interest who wish to receive notice and
who have filed proper appearances will receive notice via this Court’s CM/ECF system.

                                                        By: _Kyle Dallmann_
                                                            Kyle Dallmann, Attorney




GLL# 758353
